Case 2:09-cr-00015-EFS   ECF No. 2600   filed 12/21/10   PageID.14960 Page 1 of 6
Case 2:09-cr-00015-EFS   ECF No. 2600   filed 12/21/10   PageID.14961 Page 2 of 6
Case 2:09-cr-00015-EFS   ECF No. 2600   filed 12/21/10   PageID.14962 Page 3 of 6
Case 2:09-cr-00015-EFS   ECF No. 2600   filed 12/21/10   PageID.14963 Page 4 of 6
Case 2:09-cr-00015-EFS   ECF No. 2600   filed 12/21/10   PageID.14964 Page 5 of 6
Case 2:09-cr-00015-EFS   ECF No. 2600   filed 12/21/10   PageID.14965 Page 6 of 6
